            Case 1:22-cv-04439-RA Document 5 Filed 06/10/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ISABEL TAVERAS, individually and on
 behalf of all others similarly situated,
                                                                  22-CV-4439 (RA)
                                Plaintiff,
                                                                       ORDER
                         v.

 SOOJIAN, INCORPORATED,

                                Defendant.

RONNIE ABRAMS, United States District Judge:

         This case has been assigned to me for all purposes. It is hereby:

         ORDERED that, within thirty (30) days of service of the summons and complaint, the

parties must meet and confer for at least one hour in a good-faith attempt to settle this action. To

the extent the parties are unable to settle the case themselves, they must also discuss whether

further settlement discussions through the district’s court-annexed mediation program or before a

magistrate judge would be productive at this time.

         IT IS FURTHER ORDERED that within fifteen (15) additional days (i.e., within forty-

five (45) days of service of the summons and complaint), the parties must submit a joint letter

requesting that the Court either (1) refer the case to mediation or a magistrate judge (and indicate

a preference between the two options), or (2) schedule an initial status conference in the matter.

SO ORDERED.

Dated:      June 10, 2022
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
